Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 1 of 14



                                Trumpv.Cohen(1:23-cv-21377)SDFL-April13th#2023
                   M otionto Intervenefiled on behalfofmy fellow Am ericansand M ànkind
                                                                        I
   MathematicallyMankindwillceasetoexistinthenextfew years.WeareinaContjgiousEndemic
   Suicide Pandem ic.The Universe willrecord thatourspeciescomm itted suicide        '
                                                                                 : i
   Trump,Biden,and Cohen are guilty ofGenocide and CrimesagainstHumanity.        This!i
                                                                                      stheperfectcaseto
   expose the truth and change the narrative so thatM ankind can be saved.           l
                                                                                     i
   JUSTCHANGINGTHENARRATIVECOULDSAVEMANKIND.ORDERINGA RESPONSEFOULDBEA MIRACLE
   AND YOU HAVETHE POW ER.                                    '
                                                              I
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   Myreferences.GoodorBad,eachoftheseJudges(plusone-hundredothers)d6ckltedasignificant
                                                          '
   numberofmypleadingsThe courtsdocketed asignificantnumberofW rits.
                                .                                      I
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   ChiefJustice SriSrinivasan -ChiefJusticeW illiam PryorJr. - Judge Ellen Lipton Hollalnder-Judge Lee H.
   Rosenthal-Judge Ursula Ungaro
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   Pleaseincorporate:W ritofMandamusa                                     i
                                     nd Prohibition14-10077filedwiththeSupremeCourt(four
   havebeenpubliclydocketedandtwentyhavenot.)                                        l
   DemocraticNationalCommitteev.TheRussian Federation(1:18-cv-03501)SDNY-My50 pluspleadings.
   (The Unabomber'sMani festowasdocketed.)
   Christensonv.DemocraticNationalCommittee(1:18-cv-05769)SDNY           (
      >' Altersv.People'sRepublicofChina(1:20-cv-21108)SDFL- 100 pluspleadings.
   Everything thatIhave docketed with the FederalJudiciary in m ore than one hundred
                                                                                  1 cases. See Pacer
  andputmynamein:DavidAndrew Christenson.                                            l
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   Iam notaskingyouto rule in my favor. Orderaresponse.Ameri
                                                           cansdeservetobrIrepresented.
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   lam justaskingyoutochangethe narrative,sothe truth comesout.M athem atically itistoo late, butwi
   m usttry.

  Godspe d.
  Sin er ly#       . - .-
                            '

    avi n      ' hristenson
  PJ0.Box9063
  M iram arBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ gmail.com;
  dchristensonGl hotmail.com;




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Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 2 of 14

                 USCA I1 Case:21-10371        Date Filed:02/04/2021        Page:
                                                                             1   of 142


                                           CASE NO.:ZI-XXXXX
                                                                                i

                              IN THEUNITED STATES COURT OFAPPEALS
                                                                                I
                                                                                I
                                    FO RTHEELEVENTH CIRCUIT


                                           DAVID CHRISTENSON,
                                                 Plaintiff
                                                    V.
                                                                                I
                                        U                                       I
                                         nited StatesofAm erica,
                                               Defendant


                              W
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                                  ritofProhibition and W ritofM andamus.        '

                                                    &

                                          ConstitutionalQuestion


                                    Filed on BehalfofallAm ericans.




    Godspeed

    Sincerely,

    (0nfiIe)

    DavidAndrew Christenson
    Box 9063
    M iram arBeach,Florida 32550
    504-715-3086
    davidandrewchristenson@ amail-com .
    dchristenson6@ hotmail-com.
        Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 3 of 14
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                                          Braggv.Jordan(1:23-cv-03032)DistrictCourt,S.D.New York-April12ith,2023
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                         '                                                                  cansandMjnkind
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                The universewillrecordthatourspeciescom mitted suicide. MathematlcallyMankihdwillceasetoexist
                inthe nextfew years. M athematicallyweare ina ContagiousEndemicSuicide Pandl  rmic.Suicide hasnot
                only become alife choice,butithasalso been accepted by Mankind asa Iife choice'
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                Americansareborrowingmoney(andtheinterestexpenseonthatborrowedmonly)tohaveapoli
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                congressinvesti
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                REVOLUTION.ISIFTHEFEDERALJUDICIARYFUNCTIUNSPROPERLYBYUPHOLDINiAND HONORING
    .           THEPREAQBLETOTHECONSTITUTION,
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                Americansdeserve betler.Thisisourgrievance, anditisbeingfiledinaccordanceUiththelastsentence
                ofthe FirstAmendment. ''Fàe FirstAm endmentprovîdesthatCongrqssm ake no Icwl respectfng cn
                establishmentofreligionorprohibitingitsfreeexercise. Itprotectsfreedom ofspeec
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                WritofMandamusandProhibition14-10077filedwiththeSupremeCourt(fourhatebeenpublicly
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                DemocraticNationalCommitteev.TheRussîanFederation(1:18-cv-03501)'SDNY-My50pluspleadings.
                (TheUnabomber'sManifestowasdocketed.)                                                  i
                Christensonv.DemocraticNationalCommittee(1!18-cv-05769)SDNY                            I
                Everythingthatlhave docketed withthe Fedel
                                                         'alJudiciary inmore than one hundred
                                                                                            l cases. See Pacer
                and putmyname in:David Andrew Christenson.                                  I

                lam notasking you to rule in myfavor. Orderaresponse.Americansdeserveto be I
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                musttry.                                                                               l

                Godspe.                                                                                l
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                S ere ''
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                 avidA ewChristenson                                                                   1
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                P.O.Box 9063
                M iram arBeach,Florida32550
                504-715-3086                                                                           :
                davidandrewchristenson@ amail.com;
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                dchristenson6@hotmail.com ;                                                            I
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Case 1:23-cv-21377-DPG Document 14 Entered                    i      Page 4 of 14

              Case 4:21-cv-01774 Docblm ent33 Filed on 08/16/21 in TXSD I
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              ReferencesupremeCourt:21A151usticeAmyConeyBarrettEmergencyApplicat1
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                                  lnjunction, ReliefRequestedW Friday,August13,2021                       I
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                                               THEMIRACLE,AND IT ISSO SIM PLE        i Re x o u naycvtyofccua
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                                                                               schanged.)
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         THE SUPREM E CO URT IS THE ONLY LEGITIM ATE ENTITY INITHE W O RLD
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                      W HERETHESUPREM E COURT G                                                   ,       l
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         ChangethenarrativeW orderingaresponse.ThisisaboutMankind.(I
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  '      wantittobeaboutme.I THAjTO BEABOUTCHANGINGTHENARRATIVEANDSAVINGMANKIND.)
         MyprevailingwithouttheSupremeCourtwillresultinavîolentrevolution.Mywrltlngsjwillbeused
         againsttheSupremeCourtandthatisnotagoodthîng.(Praythatldonotdiebeforeihenarrativei
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Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 5 of 14
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            Case 4:21-cv-01774 Docum ent33                Filedon08/16/21inTXSD I
                                                                                page2of2
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            4. DemocraticNationalCom mittee v.TheRussi
                                                     anFederation(l:l8-cv-0350l)Dil
                                                                                  strld Court,S.D.
                  New Yorkludge2ohnGeorgeKoeltl                                         I
                                                                                        ;
                  UnitedStatesCourtofAppealsfortheEleventhGircuit-DavidAndrewChristlnsonv.The
                  UnitedStatesofAmerîca-CourtofAppealsNo                            I
                  CaseNo.21-20311-lenniferBridges;etal :21-10371
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                                                            aktiffs-Appellants-v.-TheHqustonMethodist
                  Hospi
                      tal,Defendants-Appel
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                  Bridgesv. HoustonMethodistHospital(4:21-cv-01774)DistrictCourt,S.D.Teq1asludgeWnn
               NettletonHughes
            8. Nevev.Birkhead(1:21-cv-00308)DistrictCourt,M.D.NorthCarolinaludge LoI
                                                                                   rettaCopeland
               Biggs                                                                   !
            9. Legarretav.Maclas(2:21-cv-00179)DistrictCoart,D.New MexicoJudge.MarthaAliciaVazquez
            10.Klaassenv.TheTrusteesof(ndianaUni ûersl ty(1:21-cv-Q0238)Distrld -
                                                                        .
                                                                                Court, N.
                                                                                       ID.lndianaludge
                  DamonRLeichty                                                      I

        uodspeed
        Sincerely,

        On File

        DavidAndrew Christenson
        Box9063
        MiramarBeach,Florida32550
        504-715-3086
        davidandrewchristenson@cm ail.com .
        dchristenson6@ hotmail.com.

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            erebycertiW thatonAugust121,2021,lfiledtheforegoingwiththeClerkusingCM/E'
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    Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 6 of 14
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                                            UNITED STATESDISTRIW COURT                '
                                           SOUTHERNDISTRICTOFNEW YORK                 l
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           MovantDavidAndrew Christenson                                    CivilAdionlNo.1:18-cv-03501
           DEMOCRATICNATIONALCOM MIU EE                                               i
                                             ,                              Racketeerjnfluencedand
                                                                            CorruptOrgianizationAct(RICO)
           Pl
            aintift                                                               ' I .
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           v.                                                               JudgeJohn'
                                                                                     I
                                                                                     G .Koeltl
                                                                                      l                             I
           RUSSIAN FEDERATION,etaI;                                                   I                             1
           Defendants.                                                                I                             I
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                           oneHundredseventeenth(117tb)EmergencyMotionforReconsi
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                                       ayfrom myquesttosaveMankind.lquit.ltoldgodl
                                                                                 Iwasthroughand
           thatifhewanted metocontinue, heneededtogivemearealsign.Guesswhat?God  lgavemeasignvia
           abaseballbattothehead.                                                     1
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                                     Matthew W hitakeristheadingAttorneyGeneral

                       Thisfadualstoryisunbelievableandthereisnowaytotellitinacoherejtmanner,
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                USAttornevMatthew W hitakerfrom lowaismvfather'sattornevandthepej1sonthathadUS
           Attornev BillvGibbensrepresentmeinmv arrestforkvberstalkinaan FBlAcentinNew Orleans. Yes.
                               a USAttornevrepresented meand gave awavaIIofmv rights-I
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           Iam directl y connectedtoAttorneyGeneralMatthew W hitaker, AssistantAttorneyI
                                                                                       Generalforthe
           Environmentand NaturalResourcesDivisionJeffel BossertClarkandSpecialProseèutorRobert
           M ueller. Eachoftheseindividualsirreparabl                                  I aIIAmericans
                                                    e harmedme andthusirreparable harmed              .
           TheyareresponsiblefortheGenocideofMankind. l                                l             th
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           Circuit.Youm ustreview the extensivedocket.5thcircuitCase:16-30918 IN RE:DEEPW ATER HORIZON
           LAKEEUGENIEG ND & DEVELOPM ENT                                              1
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                                                 NCORPORATED;ETAk Plainti  ffsv.BPEXPLQRATION&              .
           PRODUG ION,INCORPORATED;BP AM ERICA PRODUG ION COM PANY;BP, P.L.C.,Défendants-
           Appellees.)
           Iam from Iowa. M yfatherisfrom Iowa,heisaRepublicanandhedonatestotheRqpublI ican Party
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           M atthew W hitakerisfrom Iowa andheisaRepublican. Myfatherretainedhim asahattorneyand
           donated moneyto hiscam paign. M atthew W hitakerw asthe USAttorneyfortheSou
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           chargedwi
                   thacrime.MyfatherIeftNew OrleansandleftmeinjaitbecauseofMatihew Whitaker.My
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Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 7 of 14




       fatherisarealsunarcissist.TheDOJput(myownfather)meinisol
                                                              ationfor11daysandmedicatedme
       againstmywill.Theydid the samethingtoCoastGuardCommanderW illiam GoetzeefourmonthsIater
       and hedied.TheDOJmurderedhim.W henhewasinFederalCourt, theyhadhi    m st/appedtoa
       wheelchairandtheywouldtase him when hetriedtospeak. Readthefami l/scomplaint.
       Reference:DemocraticNationalCommitteev. TheRussi
                                                      anFederation(1:18-cv-03501)Distrid Court,
       S.D.New Yorklohn GeorgeKoeltl                                           !
       Chri
          stensonv.DemocraticNationalCommi
                                         ttee(1:18-cv-05769)DistrictCourt, S.D.New YorkJudge
       ColleenMcMahon                                                           '
       The inform ationIam sha                                                 l
                              ringwi
                                   thyou hasbeenfiledir 30pluscasesinfourAppealsCourtsandthree
       DistrictCourts.ItalsohasbeenfiledwiththeSupremeCourtinthefourWritsthatIiiled.SearchPacer
      *andtiieSupreme Courtfor:DavidAndrew Chrijtenson.                         I
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       Docketfor1:18-cv-O3501SDNY113pages-Moti                    e:Motionto Inter1veneand Motionto
                                                   onforLeaveto Fil
      JoinfiledbyDavidAndrew ChristensononApril24th#2018. JudgeKoel  tldocketedovirfiftyofmy
       pleadings.                                                                 t
       Docket25
       Pages24 - 27 Non-DomesticStayAwayOrderFBIDiredorRobertMuellerisonit l
                                                                                  , peopl
                                                                               . 74     eareIisted
      and Ididnotknow 66ofthem.A third ofthem arecou.-tclerks.Two US Senators, aBishop anda
       bullding.Theyevenlisted myfriendsand attorneys.                            $
      Page56-A pressreleaseaboutm yarrestthatwasagrossm istakeonthepal'     tofthe1DOJ.
      Pages57& 58-BondOrderandCondhbonsofBail. Th> ori     ginalaskedfor$500,000.00bailfora
       misdemeanor.Order3isno internetso lcould notdoresearch.
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      Page59Memorandum aboutUSAttorneyBillyGibbensrepresentingmeinmyarrektandwaivingaIlof
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                                        tarvmurdered Americansandthe KatrinaVirùswasreleased
      becauseofnealigence.                                                      I

      Readthe50 pluspleadingsforthe restofthestory,

      Godspeed

      Sincerely,
      DavidAndrew Christenson
      Box9063
      M iram arBeach,Florida32550
      504-715-3086
      davidandrew chri
                     stensonl am ail.com ',
      dchristenson6@ hotmail.com ;
Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 8 of 14




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                           The United StatesSuprem eCourtand The KatrinaVirus
                                A Prelude/ReferenceBook/Appendix-Book7
                                       ByDavid Andrew Christenson
                                  ISBN 978-0-9846893-8-5 HardbackSCKV
                                    ISBN 978-0-9846893-9-2 EBookSCKV
                                              LCCN 2012933074
                                           Copyright1-724163643
                                            Persim m on Pttblishing
                                                  Box9063
                                       M iram arBeach,Florida32550

     AnEpicConstitutionalCrisis.Iam talkingaboutthepoliticaldestructionofaIlthreébranches(Executi
                                                                                                ve
     JudicialandLegislative)ofourFederalGovernment Onehundredand fiftyfive mil1
                                                    .                            lionAmericansand ,
     Canadiansmaybe infectedwithThe KatrinaVirus. DidtheUnited StatesSuprem eCour
                                                                             1 tparticipate in
     thecriminalcover-up?Misprïsionisacrime/felony Insimpletermsitmeansthatyi
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                                                                            ouhadknowledgeof
     acrimeanddidnothing.DidtheSupremeCourthaveknowledge?YES!Igavetherritheknowledge. The
     realquestionis:whatdidtheSupremeCourtdowiththeknowledgeofTheKatrinqVirusandthecover-
     up?
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     Therewasno sim plewaylo presentthisstory. Ifullyacknowledgethatthe materi4l
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     incoherentmanner.W hatyou arereading isa compilationofmy comm unicationswith the Supreme
     Courtsince myarrestforcyberstalkingFBISpecialAgentSteven Rayeson March 15th, 2011.ltrnustbe
     emphasizedthatlwasarrestedonaLouisianaWarrant(notaFederalWarrantasone
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     and Ihave neverbeencharged withacrime. A LouîsîanaSearchandSeizure W arrant
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     FBlto stealmv evidence,documentation, etc.ofwhathappenedinNew Orl eansaïrterHurricaneKatrina.
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     The UnitedStatesM ili
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     Am ericans. 1500Americansaresti
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                                    llmissing.W eréthecontaminatedbodiesrecovrred,anal    yzedand
     burned inFederalGovernmentincinerators?Aresomeofthebodiesbeingkeptaliteinvegetativestates
     so thatthe FederalGovernmentcan studythe Iongterm effectsoftheK          :
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                                                                    atrinaVirus?(Remémberthe
     SyphilisStudiesinAlabamaand Guatemala.)                                  I
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     ThisisaPrelude/ReferenceBook/Appendix.Theendofthestoryhasnotbeenwritten. Judgm entm ust
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    Supreme Courtmayhave beento provide mewiththeprotection needed, to noto'     nlyuncoverthetruth
    aboutthe KatrinaVîrus, butto bring îtto the attentionofAmericanand Canadian peopl
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Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 9 of 14



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                                             THERELUCTANT PATRIOT
                                        By CaptainDavidAndrew Christenson
                                          fBookNineinaninepartseries.)
                                       l/braryofCongressLCCN 2011940256
                                         ISBN 978-0-9846893-0-9 Hardback
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                                            58N 978-0-9846893-1-6 EBook
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        Factual, documentedandverifiableaccountofwhathappenedto(TheAuthor)CapItainDavidAndrew
        Christenson,UnitedStatesAirForce, on M arch 15th#2011.               I
    '



        On them orningofMarch 15th, 2011the FBIbroughta30 manSW AT team,withshpot
                                                                              l to killorders
                                                                                                     , to
        arrestCaptain DavidAndrew Christenson foranon-viol
                                                         ent, non-domesti        Imisdemeanor
                                                                        c,non-drur
        charge(EquivalentofaDUIorDWI.)ofcyberstalkingFBIAgentStevenRayes.ThisUasdoneunderthe
        authori
              tyofFBIDirectorRobertM uell
                                        er.M isinformationwasprovided to the presj. Sixmonthsearlier
        onOctober14tbJ2010(Thisisave@ importantdate,seebelow)FBlAgentStevenkayescontacted
        CaptainDavidAndrew Christenson.
                                     WhydidAgentRayescontactCaptain'christenjIon?AgentRayeswas
        a memberofthe uniformed ViolentCrimesTaskForce and he wasnotatrue invesiigativetype FBI
        Agent. CaptainChristensonhad beencomm unicating with FBIDirectorRobertM uel
                                                                                  Iler
                                                                                             , AgentsDavid
        W elker,Dewayne Horner,Joseph Downlng, Kel     l
                                                       yBrysonandPaulaMccants.AgeniRayeswasselected
        by DirectorM uellerto betheenforcer.                                             I
                                               AgentRayeswasan ex-enlisted Marine and streetcop with no
         consciousandwassomeone whowould blindl       y follow ordersunderstandi         I
                                                                               ng the illegalm ission.Agent
         Rayeswaszealousand sadisticin carryingouthi    sorders. AgentRayesordered.CaptainChristenson to
        em allhim athisofïicialFBlem ailaddresses.                                       I
                                                    AgentRayescommenced to harass,stalk,threaten,
        intimidateand assaul  tCaptainChristenson.
                                                   OnNovember10th,2010AgentRayesjlssaultedCaptain
        Christensonatthe HiltonHotelin New Orleans. TherewasaDVDoftheassaul         t-ThkFBùusedaLpuisiana
        Statearrestwarrantand aLouisianaStatesearch and seizurewarrant.TheFBIdid I       notuse Federal
        W arrants.Thisneedsto besaid aaain.The FBldid notuseFederalwarrants. CapïainDavi
        -
                                                                                                 d Andrew
        Christenson hasneverbeencharaedw itha crime. The FBIclaimed thattwo outof        Imorethan500
        emailssentto atIeast10 differentFBIAgents, i   ncludingFBIDirectorRobertMuelllr,byCaptain
        Christensonwere threatening. The em ailsw ere notthreating and were consîstentI  w ithprevious
        informative and politicalemails. CaptainChristenson neverreceived an arraignmept I,a show cause
        hearingora prelim inaryexam ination asisrequired b:law . Orl eansParishDistrictYtItorneyLeon
        Cannizzaroaskedfora$500,000.
                                   00bond The OrleansParish CriminalCour'tgaveCapt
                                              .                                I ainChristenson a
                                                                                      l
                                                                                      I
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    'record bondof$300,000.00.CaptainChristensonshouldhavebeenreleasedonhisI'ownrecognizanceor
     a$10,000.00bond.(Anarmedcarjackerreceiveda$75,000.00bond.)CaptainChristensonwasheldfor
     11daysinthe OrleansParish Prison withoutbeing chargedwitha crim e. AfterdaythreeCaptain
     Christensonwasplaced in isolation onth                                     I
                                            epsychiatricfloorofthehouseofdetentiqn(HOD)wherehe
     wasmedicated withouthisknowledge orconsent. AttorneyGeneralEri      cHolderdirkctedAssistantUS
     Attorney Billy Gibbensto representCaptainChristenson,whichhe did. Criminaldefendantsarenot
     represented by USAttorneys.BillyGibben'smissionwasto discreditCaptain Christènson and to keep
     him in prison.The courtrecord confïrmsthis. Captain Christensonwasto be perm a'nentlydetained in a
     psychiatrichospital, medicated and discredited.The LouisianaStatesearch andseizur
                                                                                   I e warrantwas
     used to stealevidence, Iegalfiles,the DVD ofFBlAgentRayesassaul               1istenson the DVD of
                                                                      tingCaptainChr         ,
     the DanzigerBridge murders,etc.from Captain Christenson. Uni  tedStatesSuprem;Cour' tfilesand
     communicationsandevidenceof''TheKatrinaVirus''andpendingGenoci
                                                                  deweresiolenaswell.
                                                                                   l
     The Departmentoflustice classified Captain David Andrew Chrikenson asa
                  -


     terrorist. Thiswasdoneto bypassFederalLaw and the FederalJudiciary. ltwasr1
                                                                               elayed to Captain
     Christensonthatifhedidnotstophisresearchandquestforjusticethathewouldpeassassinatedasa
     terrorist.
                                                                                   i
     The FBIattemptedto murder/assassinateCaptainDavidAndrew Christensonwhil
                                                                           ejhewasbeingheldin
     isolation inthe OrleansParish Prison. CoastGuardCommanderW illiam W esleyGoetzee wasnotso
     Iucky.He wasmurdered inthe OrleansParish PrisononAugust7th, 2011.TheFBlfki  ledwithCaptain
                                                                               -
     Chri
        stensonbutsucceededwithCommanderGoetzee.                                   !
                                                                                   j
                                                                          I
     W hatwasso importantthatthe United StatesGovernm enthadto classifyCapt ain:
                                                                               David Andrew
     Christensonasaterroristandthenattempttomurder/assassinatehim?                 !

     Chem icalwarfare ingredients,êêTHEKATRINA VIRUS;#,were released during Hurricane
                                                                                   1 Katrina.Theend
                                                                                   l
     resultwillbeGENOCIDEforthe residentsofNew Orleans. ('  'TheKatrinaVirus''reprIesentsaIIofthe
     contaminantsthatwerereleasedfrom governmentresearch/laboratory,manufactbringandstorage
     facilities. Thesefacilitieswerecontrolled directlyand indirectly bythe Departmenti
                                                                                      I
                                                                                      ofDefenseandthe
     CentralIntelligenceAgencyandincluded publicinstitutionssuchasIocalhospitalsând medicalschools.
     TheHarvardUniversityMedicalSchoolhasbeentaskedwithstudyingandtrackingp
                                                                          thelongterm
     health/medicalissuesand''TheKatrinaVirus''.                                   !
                                                                                   '

     The UnitedStatesM ili
                         tarvkilled,executed and m urderedAmericansdurinq Hurricbne Katrina andafter.
     A sidenote.SecretaryofDefense Donald Rumsfeld had averypublicdisagreement.w ith President
     George Bush concerning theuseofthe military. Captain Christenson doesnotrecal 1lthere everbeing a
                                                                                   1
     publicdisagreementbetweenthe Presidentandthe Secretaw . W hatisstrange isthatthe pressnever
     picked uponthe disagreement. SecretaryRumsfeld already knew aboutwhatthe mi   l litary had done and
     wasconcernedaboutthe Iîabili ties. PresidentBush had to orderSecretary Rumsfeld
                                                                                   I to send inthe
     troops. GeneralRusselHonore and thetroopsarrivedfive daysafterHurricane Kat$  rina. GeneralHonore




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          confirmedto methathe wasonlyresponsibleforwhatthem ilitarydid afterhe arrived and notbefore.
          Hewasadamantaboutthat.BothheandCoastGuardAdmiralMaryLandrylostprùmotions,theirnext
          starand wereforced to retire. W hythefive daydelaywhenplansand proceduresl
                                                                                   requirethesecuring
'         ofan urban areawithin72hoursaftera                                            l          .t
                                                 catastrophe.Therewereseveralreasonsf?rthedelay. The
          KatrinaVirus''would dîsperse.The DOD andtheCIA,inconnection withthe Uni tedlstates Navy, could
          clean up the messwithouthavingthepressaround.ltwasbrilliantthewaythe FederalGovernment
          keptthe pressoccupied withthe rescue missions,thesuperdomeandtheconventi   l
                                                                                     on center. Louisiana
          G                                                                          I
            overnorKathleen Blanco wasintentionall
                                                 y manipulated bythe FederalGovernm éntand madeintoa
                                                                                     I
          scapegoat.FEMA DirectorMichaelBrownwasmanipulated aswell.

          TheBPoilspill,To beW ritten.

          The DanzigerBridge.To bewritten.                                              .



          BooksSevenand EightwillstartinSeptember                                       I
                                                      ,   2005.TheUSMilitaryarrivesinNeF Orleansinthedays
          PrecedingHurricaneKatrina.Theunitswereissuedmillionsofdollarsincashinsatt
                                                                                  I
                                                                                   hels.Confirmedby
          TeresaMcKay,DirectorofDepartmentofDefenseFinanceandAccountingService(DFASJ.Teresa's
          husband, JefferyMcKay,andlattendedtheAirForceAcademytogetherandwere! qoommatesinflight
          school.JKworksinthePentagonandisal sooneofmysources.InthedaysfollowihgHurricaneKatrina
          PresidentBushandAirForce OnedidaflyoverofNew Orleansbutdid notIand.Thr
                                                                               iWhiteHouseissued
          a pressrelease statingthatsecuritywasnotin placeand thatthe Presidentz.slanding
                                                                                        I would detractfrom
          the rescuem issions.Asan AirForce PilotIflew supportmissionsforthe Presidentl AirForceOne and
          the SecretService.Iam intimatelyfamiliarwith theirproceduresand protocols. PrisidentBushandAir
           ForceOne did notland becauseThe W hite House did notwantto infectthe President
                                                                                        I and hisstaffwith
          ''TheKatrinaVirus'aswasconfirmed bvAmbassadorDonald Ensenat. Securi     tywajiinplaceandBelle
          Chase NavalAirStation wasoperationaland secure. Theseni  orleadershipinNew 6, rleansgave blood
          and DNA sam ples.Thisaswellasotherconnectionsto ''The KatrinaVirus''were cohf
                                                                                     l
                                                                                       irmed by M ayorRay
          Nagin.AftertheHurricane,USAA lnsurance(Amili
                                                     taryinsurancecompanyrunbyçeneralsand
          AdmiralswithstrongtiestothePentagon)informed'usthattheywouldbepayingl
                                                  .                           ourclaim becauseof
          the longterm healthissuesthatwewould face. W hatdid USAA know? In February?  12006we purchased
                                                                                       1
          acondominium,underfraudulentci
                                   .       rcumstances,from Louis(Lee)Madere.HewastheLouisianaState
          GrandJuryForemanforthe DanzigerBridge M urders. (Jcannotinventthetruth)TieCathol   icChurch
          had filed aclassactionvideovoyeurism Iawsuitagainsthim . Madere entered the Feder
                                                                                       I alW itness
          Protection Program on October15îb                                            !.
                                           ,   2010(Theimpolantdatefrom above.).SecrqtaryofHUD,Mayor
          andJudgeMoonLandrieu,thefatherofSenatorMar'
                                                    yLandrieuandMayorMi
                                                                      tchLkndrieu,wasamajor
          sourceofinformation.                                                          1
                                                                                        .
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          State Farm Insurance and the murderofprominentLosAngelesattorneyJam esRobie ofthe Robie
          MatthaiLaw Firm . To be written.Please review yourhomeowner'spolicy.The medi
                                                                                    icalIîability provision
          ofthe hom eow ner'spolicy issubstantiallargerthanthe property Iossprovision. At100,000.00home
          couldhavea$5,000,000.00m edicalIiabilityprovision.The Iosstothe insurancecom  I paniesw ould be
          trillionsofdollarsifitwasshown that''The KatrinaVirus''wasreleased.           1

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                                       AnAm erican BornTerrorist?sEmails
                                         ToThe DepartmentofJustice
                                       A Prelvde/ReferenceBook/Appendix
                                                    Book8
                                                       By
                                            David Andrew Christenson
                                       ISBN 978-0-9846893-2-3 Hardback
                                         ISBN 978-0-9846893-3-0 EBook
                                                LCCN 201194112
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                                         M iramarBeach,Florida32550
                                       ww w .persim m onpublishinaus.com
                                       persim monnublishing@ gmail.com
                                         www.thereluctantpatriot.com               1
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                                        thereluctantpatriot@ gm ail.com

      Aquestforiustice.W hatstartedassimplefraudperpetratedagainstCaptainDavid1Andrew Christenson
      turned into a NationalandW orldwideCrim inalConspiracy.Captain Christenson unlntentionally and
      unwi ttinglybecameacrusaderforjustice. Hisattemptstouncoverthetruthandto1ibringthosetruthstc
      Iightgothim classifiedasaterroristbytheDepartmentofJustice.Ataminimtim thecover-upinvolves
      the FederalGovernment                                                    I
                             ,thePresident,theSupremeCourt,Congress,theDepartrpen tofDefense,the
      CentrallnteiligenceXgency,the CatholicChurch,the Pope,BP,etc.
                                                                                   l
      Readtheemailpapertrial.ThisbookcontainsemailssentbyCaptainChristensonslIartingonOctober
                                                                       .



      14th,2010and endingon M arch 14th#2011whenhe wasarrested. CaptainChristensonwasarrested on a
      LouisianaW arrantforCyberStalking FBISpeci
                                               alAgentSteven Rayes. Itm ustbe not
                                                                                IedthatCantain
      Christensonwasneverchargedwith acrime. AgentRayescameto CaptainChristers  Ion onOctober14th,
      2010the daytheem ailsstarted.                                                '
                                                                                   l

                                                                                   I
     There wasno easywayto presentthi sstoryin acoherentmanner. Idecidedto preb  enttheemailsasis.I
                                                                               I
     hopethatyou can use them asa pointofreference.My nextbookistitled ''Thè ReluctantPatriot''. The
     storystartsMarch15th,2011withmyarrest.Pleaseconsiderthisgooktobeaprely    lde, appendixand or
      areference book.                                                             !
                                                                                   :
      YoumayseepreviewsofmyothereightbooksatwwW .nersim m onnublishinaus.com
                                                          .
                                                                           1 and
      w ww .thereluctantnatri
                            ot.com .                                               !
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Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 13 of 14




                          Guidelinesand background informati
                                                           on forreadingmyemails
                                                                                          ,
      '                                                                                   t
       IwasarrestedonMarch15t$2011byanFBISWATTeam Iwasarrestedfortwo coiuntsofcyberstalking
                                                             .

       FBlSpecialAgentSteven Rayes TheFBIil
                                   .                                          t ,searchmyhome
                                          legallyusedLouisianaWarrantstoarrestTe
       a
       bndseize(steal)myproperty.TheFBIdidnothaveFederalwarrantsasonemightqxpectIhave never   .
        een charged witha crim e. The arrestwasforanon-violent
                                                             , non-
                                                                  domestic?non-drùgmisdemeanor.The
       arrestwasfortheequi  valentofasevereDUlorDW I. The FBlstole my (
                                                                      egalfilçs, clmputer s,back-ups,
       phone,photos,evidence, Supreme Courtfiles,aDVD ofAgentRayesassaulting me;  Ia DVD ofthe
       DanzigerBridge?etc. TheFederalGovernmentwantedtostopmyinvesti   gationintltheGenocideand
       murderthattookplace afterHurricane Katrina.                                l
                                                                                      1

      AgentRayescam einton1ylifeon October14tb,
                                                2010.Heordéredmetosendemailttol   ni
                                                                                   sofficialFBl
      emailaddress.Icomplied. Ihavesentover500email sto the FBlandmul ti
                                                                       pkeagent
                                                                              s. AgentR
      assa                                                                    I       . ayes
          ulted m eon November10th, 2010.TheFBIdesperately neededthe DVD ofAgentRayesassaulting
      m e.
                                                                                      (
                                                                                      I
      lwasdeclatedaterroristbvtheDepartmentofJustice. Iassum ethattheclassificgt
                                                                               iion tookplaceat
      !hesametimethatAgentRayescame into my life.

      Thefirstemailinthebookisactuall    ythe IastemailthatI                         l
                                                            sentbefore lwasarrested.lcopied apackage
      ofinformationthatIhad faxed and m ailed tothe United StatesS
                                                                     upreme Courtandsentthe emailwith
      the attachm entsto myself. lthen go backto October14th, 2010and presenttheemai l lsin a
      chronologicalorder.From October14th,2010 untilM arch 14th                      I
                                                                 , 2011.Ihave notincluded aIIofmyem ails
      because ofspace Iim i
                          tations. A partiallistofmycontactsisattached.              I
                                                                                      I
                                                                                      1
      W hen readingthe emailsplease Iookforthe followi                                i
                                                        ng:Theheadings/subjects.Notl
                                                                                   'allemailshave
      headings/subjects.Al!originalemailsarefrom me Lookatthedate and time Please review the
                                                    .
                                                                              .
      addressees(Verylmportant).Theattachmentsareimportant Isometimesscanned
                              .
                                                                 .
                                                                               (myem ailsand
      included thoseasattachments. IalsoforwardedmanyemailsbecauseIhad receivld$ responses
                                                                                                  .



      Thiswasmyquestforjustice.Youbethejudge. Am laterrori
                                                         stor''TheReluctantôatriot''?
                                                                                  I



     Sincerely,
     David Andrew Christenson
     ''The ReluctantPatriot''
     www.persimmonnublishinaus.com
     www.thereluctantpatriot.com




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                       Case 1:23-cv-21377-DPG Document 14 Entered on FLSD Docket 05/10/2023 Page 14 of 14




    David A n ~ Christenson
    P.O. Be)x99_6~
    Miram?.'i" Bi·ach, Fl. 32550
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          I
                                                        Clerk Angela E. Noble
\                                                       Federal Court
                                                                                                                                                                           /
                                                                                                                                                                               /
                                                        400 North Miami Avenue.                                                                                 1      /




                                                                  Room 8N09                                                                      ;·

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